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                                   UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINTI
                                         EASTERN DIVISION                                   E C E I Vffi,T}
                                                                                               sEP 1 42020
     l/,ughes -i'lae/ -               E.                                                  THOMAS G. BRUTON

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                                                                                        CLERK U.S. DtsTRtcT colJfxT


                      Plaintiff(s),

                                vs.                                                      20-cv-Otlll9
                              - tt(i,lols, nilrti                                   Judge tartha t. Pacold
    fit"re   s*a*e*6F                                                        tagistrate Judge Gabriel A. FuenEs
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Regj       s+ee*'is      '-


                      Defendant(s).




                   COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

    This     form complaint is designed to help you, as a pro plaintiffi, state your case in a clear
                                                                         se
    manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
    may not apply to you. You may cross out paragraphs that d.o not apply to you. All references
    to "pluintiff' and "defendant" are stated in the singular but will apply to more than one
    plaintiff or defendant if that is the nature of the case.

     1.        This is a claim for violation of plaintiff s civil rights as protected by the Constitution and

               laws of the United States under 42 U.S.C. $$ 1983, 1985, and 1986.

    2.         The court has jurisdiction under 28 U.S.C. $$ 1343 and 1367.
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     J.        Plaintiffs full name is tfohrsso       rr     cAo is  tarLec t. ),arer;s-Eerennd -if
                                           AIA   R+;a   -'Lo'.;   s -( ') @AI cl' as};lY )

    If there are additional plaintffi,Jill in the above information as to theftrst-named              plaintiff
     and complete the informationfor each additional plaintiff on an extra sheet.
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        ,,                    rlnroe! Document #: 1 Filed: 09/14/20 Page 2 of 10 PageID #:2
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4.     Defendant,           rJ   of t     K *t (rul r.l                                                                  ,1S
                                                    (name, badge number if known)


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                                                                                    -                  AaJ''c;+-f 'UF'
                                                                                                                          'LJarlo-'fo4
      F     an officer or   offlcial employed
                                                                     (department or agency of government)

                                                                                                                               !
       I    an individual not employed by a governmental entity.

Ifthere are additional defendants, ftll in the above information ss to the ftrst-named
defendant and complete the information for each additional defendant on qn extra sheet.

5.     The municipality, township or county under whose authority defendant officer or official

       actediszhe      Stal< 0F ytt,               ol"al   s ( CooK- 1t117            ]_.         As to plaintiffs federal

       constitutional claims, the municipality, township or county is a defendant only                          if
       custom or policy allegations are made at parugraph 7 below.

6.     on or    uaoir^*'l"*''o'i, rt'Yilpproximat ely cart Reuqnb<( n a.m. E p.m.
                         (t*r,hd"y, ye*)
       plaintiff was present in the municipality (or unincorporated area) of                        De Pa*tueat * 0F-
       CoRRerlic"n - YLti                     is                     , in the County       of   (n,Jl - PeueuE<<
                                        ^,0

       State of Illinois,    at   ALt   - PR'i s,,'s's
                                        (identify location   as   precisely as possible)


       when defendant violated plaintiff s civil rights as follows (Place X in euch box thst
       applies):

       u         arrested or seized      plaintiff without probable
                                                            cause to believe that                        plaintiff had
                 committed, was cornmitting or was about to commit a crime;
       tr        searched plaintiff or his property without a warrant and without reasonable cause;
       a         used excessive force upon plaintiff;
       &         failed to intervene to protect plaintiff from violation of plaintiff s civil rights by
                 one or more other defendants;
       tr        failed to provide plaintiff with needed medical care;
       a         conspired together to violate one or more of plaintiff s civil rights;
       E.        Other:
                   -fLaenL's - AJ L' /p*irn', J nl.os
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                                                                     'ni$*u''').-".o;          ah(
                                e\) 7Lt          -tr     eL unAtR Fttlsr -:ietls<
                                                                l-



7.        Defendant officer or official acted pursuant to a custom or policy of defendant

          municipality, county or township, which custom or policy is the following: (Leave blank

          if no custom    or policy is   alleged)zfuf:?., ttg",p3        f\pen*i   tUa   /*t,oa'Aat;"a nc'f's
                     "D   S, alcJ"i c,q,\         ',b 0F       Chicaqa                                                ,
                                                                                                                 "t
                s '/h,:lt-           d;l' Nc   1"3A     4l    t-t&

8.         Plaintiffwas charged with one or more crimes, specifically:



           'lrir, li{ee      l"iav,, )raItrer^].1 '.        A*r.r.] fi]C '7LLtt FpRrrRed'S I




9.        (Place an X in the box that applies. If none applies, yoa mey describe the criminal
          proceedings under "Other') The criminal proceedings

           n    are still pending.

           tr   were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.l

          EI    Plaintiff was found guilty of one or more charges because defendant deprived me of           a


           fairtrialasfollows ue.        lil   'it "/nke A
           d F Ylte*e

           E Other: fl^et KioLui "the,                 vt   aAt u",ste(e's, Yer Thel ct,czke)
     {t    h-p t
           lExamples
                    of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a  judgment   of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, ot a nolle prosequi order.

                             -
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       10.     Plaintiff further alleges as follows: (Describe what happened that you believe
        supports your claims. To the extent possible, be specific as to your own actions and
       the actions of euch defendant.)




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                                                             ZA     Pn;                                    ,,,

11.    Defendant acted knowingly, intentionally, willfully and maliciously.

12.    As a result of defendant's conduct, plaintiff was injured as follows:




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                                       '-s.o. 1?eX;stn.n/iaa ,s /


13.    Plaintiff asks that the case be tried by   a   jury. S Yes           nNo



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 14.    Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such

        as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

        and/or any other claim that may be supported by the allegations of this complaint.




        WHEREFORE, plaintiff asks for the following relief:

        A.      Damages to compensate for all bodily harm, emotional harm, pain and suffering,

                loss of income, loss of enjoyment of life, property damage and any other injuries

                inflicted by defendant;

        B.      lfr   (Place X in box   if you are seeking punitive   damages.) Punitive damages

                against the individual defendant; and

        C.      Such injunctive, declaratory, or other relief as may be appropriate, including

 attorney's fees and reasonable expenses as authorized by 42 U.S.C. $ 1988.

        Plaintiffls signature:
                               H   ftb.-*8;\-e.
                                                     tln9l"et -slJ''re7-E'
        Plaintiffs    name   (print clearly or type):'f<,xtsscd ch \i s*a phek     L,
                                         F,c. 8cx     ?lo3'(
        Cityc   h\.nso                                    State   {tt ,           zlP s4Bl{ Ut'N
        Plaintiffs telephone number:       (?1\) } t 3'e ?5s
        Plaintiff   s email address   (if you prefer to be contacted by email):

                        rlc;)e

15.    Plaintiff has previously filed a case in this district. tr Yes R No

       If yes, please list the cases below.

Any additional plaintiffi mast sign the complaint and provide the sarne information as theJirst
plaintffi An additional signature  psge may be added,
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